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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

 NATIONAL RIFLE ASSOCIATION                                 )
 OF AMERICA,                                                )
                                                            )
                            Plaintiff,                      )
                                                            )         Civil Action No. 1:18-cv-639
 v.                                                         )         LO/JFA
                                                            )
 LOCKTON AFFINITY SERIES OF LOCKTON                         )
 AFFINITY, LLC, ET AL.                                      )
                                                            )
                            Defendants.                     )
                                                            )


            ROBERT H. COX’S RESPONSE TO THE COURT’S ORDER
       SETTING A HEARING TO REVIEW WILLIAM ANDREW BREWER III’S
            APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY

       This Honorable Court has ordered William Andrew Brewer III and Robert H. Cox to appear

for a hearing on September 13, 2018 to inquire into the accuracy of counsels’ certifications to this

Court in Mr. Brewer’s Application to Qualify as a Foreign Attorney Under Local Civil Rule

83.1(D) and Local Criminal Rule 57.4. Dkt. 13. In response to the Court’s Order, Robert H. Cox,

counsel for the National Rifle Association of America, respectfully submits this Response and

states as follows:

       1.      I have been a practicing attorney for almost 27 years in the Washington, D.C. area.

       2.      I was admitted to the Virginia State Bar in 1991 and the District of Columbia Bar

in 1992. I am a member in good standing of both bars. I was admitted to practice before this Court

on December 19, 1991. I have never been reprimanded in any court, I have never been the subject

of any action in any court pertaining to my conduct or fitness as a member of the bar, and I have

never been disciplined by any state bar.
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        3.      On the afternoon of May 2, 2018, I was contacted by a former law partner whom I

practiced with when I was at an international litigation-focused law firm from 1999 to 2011. He

contacted me to refer a potential engagement as local counsel for the National Rifle Association

of America (the “NRA”) in a breach of contract matter to be filed in this Court.

        4.      On the evening of May 2, 2018, I was contacted by Michael L. Smith, a partner

with Brewer Attorneys & Counselors (the “Brewer firm”) regarding this potential engagement. On

May 3, 2018, the Brewer firm retained Briglia Hundley, P.C. to represent the NRA.

        5.      On May 4, 2018, the NRA filed its Complaint in National Rifle Association of

America v. Lockton Affinity Series of Lockton Affinity, LLC, et al., No. 1:18-cv-00542-AJT-TCB

(the “first case”).

        6.      On May 7, 2018, I sent Mr. Smith a copy of the Local Rules of this Court by email.

I informed him that he would need to certify that he had read the Local Rules before submitting

an Application to Qualify as a Foreign Attorney (“Application”).

        6.      On May 10, 2018, I received a signed Application for Mr. Brewer. Prior to signing

the certification on the Application, I took several steps to certify that Mr. Brewer “possesses all

of the qualifications required for admission to the bar of this Court; that I have examined the

applicant’s personal statement . . . [and that] I affirm that his/her personal and professional

character and standing are good . . .” These steps included discussions with Mr. Smith, reviewing

the Brewer firm’s website (www.brewerattorneys.com), reviewing Mr. Brewer’s biography and

bar admissions on the Brewer firm’s website, and examining Mr. Brewer’s application and

attached list of court admissions.

        7.      On May 11, 2018, I signed Mr. Brewer’s Application and filed it with the Court.

At the time I signed Mr. Brewer’s Application, I was not aware of any instances where Mr. Brewer




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had been “reprimanded in any court” or the subject of “any action in any court pertaining to [his]

conduct or fitness as a member of the bar.” In addition, I was unaware of the case, Brewer v.

Lennox Hearth Prod., LLC, 546 S.W.3d 866 (Tex. App. 2018), or the preceding case in the Texas

state district court.

        8.       On May 29, 2018, the NRA filed a Rule 41 Notice of Dismissal and Stipulation of

Voluntary Dismissal without Prejudice in the first case. On May 29, 2018, the NRA re-filed its

Complaint in the instant case.

        10.      On June 19, 2018, I received a signed Application from Mr. Brewer to qualify as a

foreign attorney in the refiled case. On June 19, 2018, I examined and signed Mr. Brewer’s

Application and filed it with the Court.

        11.      At the time I signed Mr. Brewer’s second Application, I was still not aware of any

instances where Mr. Brewer had been “reprimanded in any court” or “any action in any court

pertaining to [his] conduct or fitness as a member of the bar.” I was still unaware of the case,

Brewer v. Lennox Hearth Prod., LLC, 546 S.W.3d 866 (Tex. App. 2018), or the preceding case in

the Texas state district court.

        12.      I became aware of Brewer v. Lennox Hearth Prod., LLC, 546 S.W.3d 866 (Tex.

App. 2018) on August 14, 2018, a few hours before the Court issued its August 14, 2018 Order

setting this hearing.




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       13.    I will appear as ordered at the hearing currently scheduled for 10:00 a.m. on

Thursday, September 13, 2018. At the hearing, I will be prepared to answer any questions that the

Court may have.


Dated: September 11, 2018                   Respectfully submitted,


                                                    /s/ Robert H. Cox

                                            Robert H. Cox (VA Bar No. 33118)
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                                            ATTORNEYS FOR THE NATIONAL                    RIFLE
                                            ASSOCIATION OF AMERICA




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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 11, 2018, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

all counsel of record.


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ATTORNEYS FOR KANSAS CITY SERIES OF
LOCKTON COMPANIES, LLC AND LOCKTON
AFFINITY SERIES OF LOCKTON AFFINITY, LLC


                                                   /s/ Robert H. Cox
                                            Robert H. Cox




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